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FORM oncnf13 (Rev. 10/20)
                                    UNITED STATES BANKRUPTCY COURT
                                           Northern District of Florida
                                               Pensacola Division

In Re: Paul Allen Wood                                               Bankruptcy Case No.: 24−30061−KKS
       aka Paul A Wood, aka Paul Wood
       SSN/ITIN: xxx−xx−8155
        Debtor
       Lora Ann Wood                                                 Chapter: 13
       aka Lora A Wood, aka Lora Wood                                Judge: Karen K. Specie
       SSN/ITIN: xxx−xx−5406
        Joint Debtor


                                    Order and Notice of Rescheduled Hearing
                                on Confirmation and Fixing Time to File Objections

To All Creditors and Parties in Interest:

     Please take notice that the debtor(s) has/have filed a Chapter 13 Plan or an Amended Plan.

     IT IS ORDERED AND NOTICE GIVEN that:

    A hearing to consider confirmation of the debtor(s) proposed Chapter 13 Plan will be held on July 2, 2024, at
09:30 AM, Eastern Time, via ZOOM.

   Written objections to confirmation must be filed with the Court on or before June 25, 2024 at U.S. Bankruptcy
Court, 110 E. Park Ave., Ste. 100, Tallahassee, FL 32301. A copy of the objection shall also be furnished to:

        Chapter 13 Trustee                          as well as    Debtor's Attorney
        Leigh A. Duncan                                           Steven D. Jurnovoy
        Leigh A. Duncan                                           Lewis & Jurnovoy, P.A.
        Post Office Box 646                                       1100 North Palafox Street
        Tallahassee, FL 32302                                     Pensacola, FL 32501

     At the hearing, the Court will also hear and determine each motion, objection, and other matter filed by any
party in interest that is then pending, provided that the motion, objection, or other matter was filed and served a
period of time before the confirmation hearing no less than that required by the Federal Rules of Bankruptcy
Procedure for notice of hearing of such a matter.
     Counsel for the debtor, if represented, is directed to serve a copy of this order together with a copy of the
most recently filed plan (see Fed. R. Bankr. P. 3015(d)) to all creditors and parties in interest using a current
mailing matrix from the Court's CM/ECF system, and promptly thereafter file a certificate of such service. If
the debtor is not represented by counsel, or if the debtor is represented pro bono, the Court will serve the Order and
Plan in accordance with applicable Rules.

     DONE AND ORDERED May 17, 2024.

                                                            /s/ Karen K. Specie
                                                            Karen K. Specie
                                                            U.S. Bankruptcy Judge



Zoom Participation Instructions:
Parties who wish to ACTIVELY participate in this proceeding MUST: (1) Register through the Court's website at
http://www.flnb.uscourts.gov/zoom (2) Dress in appropriate attire; (3) Mute their microphone when not speaking; and
(4) Participate from a quiet location. Parties who wish to listen only, not actively participate, or do not have video
capability may appear telephonically via Zoom (registration required as noted above). Zoom participants must
register as soon as possible for emergency/expedited hearings, if applicable.
